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4                                 UNITED STATES DISTRICT COURT
5                              SOUTHERN DISTRICT OF CALIFORNIA
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7      AL OTRO LADO, INC.; ABIGAIL DOE,                       Case No. 17-cv-02366-BAS-KSC
       BEATRICE DOE, CAROLINA DOE,
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       DINORA DOE, INGRID DOE,                                FINAL JUDGMENT
9      ROBERTO DOE, MARIA DOE, JUAN
       DOE, VICTORIA DOE, BIANCA DOE,
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       EMILIANA DOE, AND CESAR DOE,
11     individually and on behalf of all others
       similarly situated,
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                                            Plaintiffs,
13
              v.
14
       ALEJANDRO MAYORKAS, Secretary,
15
       U.S. Department of Homeland Security, in
16     his official capacity; TROY A. MILLER,
       Acting Commissioner, U.S. Customs and
17
       Border Protection, in his official capacity;
18     WILLIAM A. FERRERA, Executive
       Assistant Commissioner, Office of Field
19
       Operations, U.S. Customs and Border
20     Protection, in his official capacity,
21                                      Defendants.1
22
23            Having decided this matter on summary judgment, after consideration of the
24     parties’ cross-motions for summary judgment, oral argument on the parties’ cross-
25     motions for summary judgment, and the parties’ subsequent briefing on remedies, this
26     Court enters final judgment, resolving all claims in the operative Second Amended
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                 Because all Defendants are sued in their official capacities, the successors for these public
28     offices are automatically substituted as Defendants per Fed. R. Civ. P. 25(d).

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1      Complaint (ECF No. 189), in accordance with its opinions and orders entered on
2      September 2, 2021 (ECF No. 742) and on August 5, 2022 (ECF Nos. 816 and 817), as
3      follows:
4             Judgment is entered in favor of Defendants on Plaintiffs’ First Claim for Relief
5      (“Violation of the Right to Seek Asylum Under the Immigration and Nationality Act”)
6      and Fifth Claim for Relief (“Violation of the Non-Refoulement Doctrine”).
7             Judgment is entered in favor of Plaintiffs and the Class2 on their Second Claim for
8      Relief (“Violation of Section 706(1) of the Administrative Procedure Act”) and Fourth
9      Claim for Relief (“Violation of Procedural Due Process”).
10            Plaintiffs’ Third Claim for Relief (“Violation of Section 706(2) of the
11     Administrative Procedure Act—Agency Action in Excess of Statutory Authority and
12     Without Observance of Procedures Required by Law”) is DISMISSED as MOOT.
13            The Court grants the following relief concerning Plaintiffs’ Second and Fourth
14     Claims for Relief:
15            (1)     The Court ORDERS Defendants to restore the status quo ante for the
16                    named Plaintiffs prior to Defendants’ unlawful conduct, including by taking
17                    the necessary steps to facilitate Beatrice Doe’s entry into the United States,
18                    including issuing any necessary travel documents to allow her to travel to
19                    the United States (by air if necessary) and to ensure her inspection and

20                    asylum processing upon arrival.
              (2)     The Court DECLARES that, absent any independent, express, and lawful
21
                      statutory authority, Defendants’ denial of inspection or asylum processing to
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                      Class Members who have not been admitted or paroled, and who are in the
23
                      process of arriving in the United States at Class A Ports of Entry, is unlawful
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                      regardless of the purported justification for doing so.
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              2
26               The “Class” is the class certified by this Court on August 6, 2020, defined as “all noncitizens
       who seek or will seek to access the U.S. asylum process by presenting themselves at a Class A [Port of
27     Entry] on the U.S.-Mexico border, and were or will be denied access to the U.S. asylum process by or at
       the instruction of [U.S. Customs and Border Protection] officials on or after January 1, 2016” (ECF No.
28     513).

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1             (3)     The Court CONVERTS its prior preliminary injunctive-relief orders (ECF
2                     Nos. 330, 605, 671, 674) to a PERMANENT INJUNCTION, as follows:
3                     a.     Defendants and the Executive Office for Immigration Review
4                            (“EOIR”) are permanently ENJOINED from applying the interim
5                            final rule entitled “Asylum Eligibility and Procedural Modifications,”
6                            84 Fed. Reg. 33,829 (July 16, 2019) (the “Interim Final Transit
7                            Rule”) or the final rule entitled Asylum Eligibility and Procedural
8                            Modifications, 85 Fed. Reg. 82,260 (Dec. 17, 2020) (“Final Transit
9                            Rule”) to members of the “Preliminary Injunction Class”—defined
10                           as “all non-Mexican asylum seekers who were unable to make a

11                           direct asylum claim at a U.S. [Port of Entry] before July 16,

12                           2019 because of the U.S. Government’s metering policy, and who

13                           continue to seek access to the U.S. asylum process”—and

14                           ORDERED to return to the pre-Transit Rule practices for

15                           processing the asylum applications of members of the Preliminary

16                           Injunction Class.3

17                    b.     The Department of Homeland Security (“DHS”) and EOIR must take

18                           immediate       affirmative       steps   to    reopen   or   reconsider      past

19                           determinations that potential Preliminary Injunction Class Members

20                           were ineligible for asylum based on the Interim Final Transit Rule,

21                           for all potential Preliminary Injunction Class Members in expedited

22                           or regular removal proceedings.                Such steps include identifying

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                 Defendants suggest in their proposed Final Judgment that by this Court’s order at ECF No. 815,
       it did not convert to a permanent injunction the preliminary injunction enjoining the Final Transit Rule,
24     entered at ECF No. 674. This Court had temporarily restrained application of the Final Transit Rule to
25     the Preliminary Injunction Class Members on January 18, 2021, reasoning that this Rule was, in essence,
       “an extension of the [Interim Transit Rule] previously enjoined” (ECF No. 671); the parties jointly
26     moved to convert the Court’s temporary restraining order into a preliminary injunction on January 29,
       2021 (ECF No. 674). Although Plaintiffs did not explicitly seek conversion of the Court’s order at ECF
27     No. 674, it would be illogical given the substantial similarity between the Interim Final Transit Rule and
       the Final Transit Rule, were the permanent injunction entered at ECF No. 816 incorporate the former but
28     not the latter.

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1                        affected Preliminary Injunction Class Members and either directing
2                        immigration judges or the Board of Immigration Appeals to
3                        reopen or reconsider their cases or directing DHS attorneys
4                        representing the government in such proceedings to affirmatively
5                        seek, and not oppose, such reopening or reconsideration.
6                 c.     Defendants must inform identified Preliminary Injunction Class
7                        Members in administrative proceedings             before     United States
8                        Citizenship and Immigration Services or EOIR, or in DHS
9                        custody, of their class membership, as well as the existence and
10                       import of the Preliminary Injunction (ECF No. 330), Clarification
11                       Order (ECF No. 605), and Order Converting Preliminary Injunction
12                       into a Permanent Injunction (ECF No. 816).
13                d.     Defendants    must    make     all   reasonable    efforts    to   identify
14                       Preliminary Injunction Class Members, including but not limited
15                       to   reviewing    their   records for     notations    regarding      class
16                       membership made pursuant to the guidance issued on November 25,
17                       2019, and December 2, 2019, to U.S. Customs and Border Protection
18                       and sharing information regarding Class Members’ identities with
19                       Plaintiffs.
20          The Clerk of Court is directed to close this case.
21          IT IS SO ORDERED.
22     DATED: August 23, 2022
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